ease 4:17-cr-00198-A H§§,@§§§§§§§S F§§§i§§§c§§,§§ Page 1 of 1 PagelD see

Fort Worth DIVISION

HONORABLE Jo§'m McBryde, PRESIDING COURT REPORTER: Debbie Saenz
DEPUTY CEJERK: F. Arnold USPO:
L,AW CLERK: INTER.PR,E'I`ER:

 

CR. No. 4:17-CR-E98-A DEFT NO. 04

 

UNITED STATES OF AMERICA § SHAWN SME'I`H, AUSA
§
v. §
§
TYLER JAMES LEVBRE'I`T § JAMES J. MONGARAS, JR.,APPOINTED
Defendant's Name Counsel for Deft. Appt-(A), Retd~(R), FPD~(F)
SENTENCING

§Date I~Ie§d: Aprii 6, 20§ 3

Hearing Type: m Sentencing Hcaring - Contested v'Sentencing Hearing ~ Non-Evidentiary

Ti:ne in Court: 14 mins.

Trial Statos; |:} Completed by Jory Verdict m Continued from Previoos Month E:] Directed Verdict m Evidence Entered

Hung Jury [:] J`nry Selection Only, continued m Jnry Selection or Verdict Only (No "E`ria§ Before this Judge)

m Mistrial \/Guilty §era m None

Days in Trial:

Hearing Concluded: v'Yes 1:] No

 

 

  
 
  

 

   

 

 

\/ . . Sentencing held. m Objections to PSI heard. m Piea agreement accepted m Plea agreement NO'I` accepted
SENTENCING TEXT:
m . . Dcft. placed ori: Probation for months
v‘ . . Deft. committed to custody of the AG/BOP to be imprisoned for a TOTAL term of §35 months
l/ . . Deft. placed on: Suporvised Relcased for 5 years.
m . . Restitution ordered in the amount of$ and/or m Finc imposed in the amount of$
§:|. . Count dismissed on government’s motion
V' . . Order dismissing original I.ndictment/lnformation to be entered upon government’s written motion.
v’ . . $1{)9.00 special assessment on Connt 1 of the Superseding Information.§~*'_;_
f:| ....... Deft ordered to surrender to U.S. Marsha§ on : N .'“ U. S. DISTRICT COURT 7
{:] ....... Det`t ordered to surrender to the designated institution on ux §§§T§BT OF TEECAS
E:] ....... E)eft failed to appear, bench warrant to issue. l
E:] ....... Bond m continued m revoked r- m 716 20|8
\/ ....... Deft Aclvised of right to appeal A "a n '
§§ Deft requests Clerk to enter notice of Appeal '“"“"“"""”“"""“'“"‘“"'~ » ~
"""" ` - CLERK U S. D
v‘ ....... §)eict Custody/Detent§on continued _ :`?"By IS lnch COURT
E:l ....... Def`t OR,DERED into custodyl m Court recommends incarceration at Denutv

 

 

 

\/OTHER PROCEEDINGS/lNFORMAT§ON: Conrt Reconimends to the Bureau of Prisons that defendant be a§lowed to participate in the

Res§dent§a§ Dz'ug Abose Treatment §’rogra:n.

